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                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

   MICHAEL PEARSON, et al.,

               Plaintiffs,
                                            CASE NO. 1:21-CV-22437-
               v.
                                            Bloom/Otazo-Reyes
   DEUTSCHE BANK AG, et al.,

               Defendants.


               PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS
                            THE FIRST AMENDED COMPLAINT




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                                          INTRODUCTION

          No reasonable construction of the Liquidators’1 complaint2 casts Defendants as unwitting

  bystanders offering routine banking services that their customers happened to exploit in a fraud

  scheme. The Liquidators do not allege merely that Defendants should have known about the

  Individual Wrongdoers’ looting of the Companies, but that Defendants investigated the activity

  and actually did know. The complaint further alleges that, armed with that knowledge, Defendants

  coached the Individual Wrongdoers and their co-conspirators on how to avoid scrutiny and

  continue their conduct without detection.

          For example, Defendants identified hundreds of overdrafts and wires from the Companies’

  accounts—all activity wholly inconsistent with the accounts’ purpose. Defendants’ own policies

  required them to close accounts or refuse to process transactions in response to this activity.

  Instead, Deutsche Bank employees encouraged the Individual Wrongdoers to bring accounts in

  line just enough to avoid more noise within the Bank, all to maintain the revenue Defendants

  reaped from their relationships with the Individual Wrongdoers. E.g., Doc. 31 ¶¶ 319–20, 325.

          So, far from playing a merely administrative or ministerial role, the Liquidators allege

  Defendants actively assisted the Individual Wrongdoers’ fraud by, among other things, coaching

  them to avoid the Bank’s internal controls. Defendants’ assistance had predictable results: The

  Individual Wrongdoers continued to loot the Companies—taking more money over a longer period

  of time—all with Deutsche Bank’s help. These allegations, taken as true and with inferences

  construed in the Companies’ favor at this stage, state a claim to relief.




  1
    Capitalized terms refer to those terms as defined in the First Amended Complaint. Doc. 31.
  2
    References to the “complaint” refer to the First Amended Complaint, Doc. 31, and page numbers
  in citations to the complaint and other documents in the record refer to the page numbers found in
  the header affixed by the Court’s electronic filing system.
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                        ARGUMENT AND CITATION OF AUTHORITY

          “On a motion to dismiss, the Court simply determines whether the Complaint has plead

  sufficient facts to state a cause of action,” and it is sufficient to state a claim “under any

  [jurisdiction’s] law.” Safari Ltd. v. Adonix Transcomm, Inc., No. 09-CV-21289, 2009 WL

  10668265, at *2 (S.D. Fla. Sept. 1, 2009). The Court must assume the truth of the facts as pleaded

  and construe both the facts alleged and “all reasonable inferences” therefrom in plaintiffs’ favor.

  625 Fusion, LLC v. City of Fort Lauderdale, 526 F. Supp. 3d 1253, 1263 (S.D. Fla. 2021). These

  obligations combine to allow a court to dismiss only if “no construction of the factual allegations

  will support the cause of action.” Allen v. USAA Cas. Ins. Co., 790 F.3d 1274, 1278 (11th Cir.

  2015) (internal quotations omitted).

          Though the parties dispute the law governing the Liquidators’ claims, the Court need not—

  indeed should not—resolve choice of law questions now because “it is premature to undertake a

  conflict of laws analysis” at the motion to dismiss stage. Receiver for Lancer Mgmt. Grp. LLC v.

  Taubman, No. 05-60199-CIV, 2007 WL 984452, at *2 (S.D. Fla. Mar. 27, 2007). Resolving choice

  of law questions is a task better left until discovery is complete. Calixto v. BASF Constr. Chems.,

  LLC, No. 07–60077–CIV, 2008 WL 2490454 at *4 (S.D. Fla. June 19, 2008)

  I.      The complaint is sufficiently particular and not a shotgun pleading.

          Rule 9(b) requires “a reasonable delineation of the underlying acts and transactions

  allegedly constituting the fraud such that the defendants have fair notice of the nature of” the claims

  and their grounds. Alhassid v. Bank of Am., N.A., 60 F. Supp. 3d 1302, 1317 (S.D. Fla. 2014). The

  complaint does more than provide fair notice, and Defendants’ motion, in responding to the

  complaint’s merits, confirms as much. This suffices for Rule 9(b), id., but it also confirms that the

  complaint is not a shotgun pleading, as it establishes, again, that Defendants have “adequate notice



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  of the claims … and the grounds upon which each claim rests.” Pinson v. JPMorgan Chase Bank,

  N.A., 942 F.3d 1200, 1208 (11th Cir. 2019) (quoting Weiland v. Palm Beach Cnty. Sheriff’s Off.,

  792 F.3d 1313, 1325 (11th Cir. 2015)). Defendants’ motion leaves no doubt that they “understood

  the claims well enough to address their merits,” thus the complaint is not an impermissible shotgun

  pleading. See id. (rejecting district court’s characterization of complaint as a shotgun pleading).

          Because Defendants suggest the complaint is an impermissible shotgun pleading “in

  passing in a footnote only and do[] not elaborate … any further,” the Court should consider the

  argument waived. Mock v. Bell Helicopter Textron, Inc., 373 F. App’x 989, 992 (11th Cir. 2010);

  see Doc. 40 at 15 n.8. But the argument also fails for at least three other reasons. First, again,

  Defendants have adequate notice of the claims. Second, each count incorporates by reference only

  specifically enumerated (and relevant) paragraphs, rather than “adopt[ing] the allegations of all

  preceding counts,” the most common species of shotgun pleading. Weiland, 792 F.3d at 1321.

  Third, accusing Defendants “collectively does not render the complaint deficient.” Kyle K. v.

  Chapman, 208 F.3d 940, 944 (2000). That is particularly true where—as here—a complaint uses

  defined terms to refer to defendants or groups and specifies on behalf of which Companies and

  against which Defendants each claim is raised. The complaint clearly defines Defendant groups,

  Doc. 31 ¶¶ 28–29, and then each count identifies whether it is brought on behalf of all the

  Companies or a subset and against which Defendants it is brought. Compare id. at 72 with id. at

  76. The Eleventh Circuit confirmed this method of group pleading is permissible in Quality Auto

  Painting Center of Roselle, Inc. v. State Farm Indemnity Co., holding that defendants had sufficient

  notice of against whom claims were brought “where the term ‘Defendants’” was defined to mean

  “each and every Defendant.” 917 F.3d 1249, 1275 (11th Cir. 2019) (reversing dismissal).




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  II.     The in pari delicto doctrine does not absolve Defendants of liability on the pleadings.

          In pari delicto is an affirmative, equitable defense prohibiting recovery by a plaintiff who

  bears    “at   least   substantially   equal   responsibility   for   his   injury.”   O’Halloran    v.

  PricewaterhouseCoopers LLP, 969 So. 2d 1039, 1044 (Fla. Dist. Ct. App. 2007) (quotations

  omitted). Where it does apply, the affirmative in pari delicto defense requires defendants to prove

  certain factual predicates—like a plaintiff’s wrongdoing—and, as an equitable doctrine, demands

  “balancing of the relative fault.” Kalisch v. Maple Trade Fin. Corp., No. 06-01717, 2007 WL

  1580049, at *1 (Bankr. S.D.N.Y.2007). This makes in pari delicto a generally inappropriate

  “ground for a Rule 12(b)(6) dismissal.” Perlman v. Alexis, 09-20865-CIV, 2009 WL 3161830, at

  *3 (S.D. Fla. Sept. 25, 2009) (citation omitted). Thus, dismissal is warranted only if the pleadings

  make the facts supporting the defense “definitively ascertainable” and “establish the affirmative

  defense with certitude.” Id. Defendants cannot and have not met that heavy burden.

          A.      The presence of innocent insiders and a legitimate purpose for the Companies
                  defeats the in pari delicto doctrine.

          In pari delicto teaches that an entity cannot “suffer[] injury from the scheme it perpetrated.”

  O’Halloran, 969 So. 2d at 1046. But the doctrine does not apply when the conduct at issue is

  adverse to the plaintiff. Id. This is the adverse interest exception, under which misconduct

  calculated to harm a plaintiff will not be imputed to the plaintiff and therefore will not support

  invocation of the in pari delicto defense. Id. at 1045 When, for example, wrongdoers “loot[]” a

  plaintiff corporation, they have acted adversely to the plaintiff, who is “purely the victim of the

  misconduct.” Id. at 1046. “[I]n pari delicto,” therefore, will “not apply.” Id. And while the

  exception will not apply when the plaintiff entities are merely the wrongdoers’ alter egos, “the

  presence of any innocent decision-maker … can provide the basis for invoking the adverse interest

  exception” and “defeating … the in pari delicto defense.” Id.


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          The adverse interest exception bars applying in pari delicto because the Liquidators allege

  conduct adverse to the Companies, the Companies are not the Individual Wrongdoers’ alter egos,

  and innocent insiders could have stopped the scheme if Defendants had acted appropriately.

          First, the Liquidators allege the Individual Wrongdoers acted adversely to the Companies’

  interests by looting the Companies for their own personal benefit, to fund other companies, and

  even to pay bribes to government officials in Latin America. Doc. 31 ¶¶ 1, 14, 16, 17, 83, 94, 117,

  119, 277, 281, 283–84, 310, 355–66. This kind of looting is “the ‘classic example’ of conduct”

  falling “within the adverse interest exception.” O’Halloran, 969 So. 2d at 1046. The Individual

  Wrongdoers also acted adversely to the Companies’ interest by driving the Note Issuers into

  needless and substantial debt through repeated swap and re-tap transactions. Doc. 31 ¶¶ 166–238.

          Second, not even the two (of 461) complaint paragraphs Defendants highlight support their

  argument that the Companies were shams existing only to aid the Individual Wrongdoers’ scheme.

  Doc. 40 at 16 (citing ¶¶ 75, 93). Paragraph 75 alleges that special purpose vehicles were used to

  raise capital by selling securities, but it in no way alleges that their sole purpose was supporting

  the scheme. In fact, elsewhere, the complaint alleges that in the same timeframe, the Individual

  Wrongdoers were actually acquiring “real estate in South Florida” for development, Doc. 31 ¶ 65,

  consistent with the purpose for raising funds given in the offering documents, e.g., id. ¶¶ 78, 169.

  And though ¶ 93 alleges the funds were used for many inappropriate purposes, it does not allege

  they were used solely for those purposes, as would be required for in pari delicto. Defendants

  ignore allegations that the Companies did support some legitimate business and that the intended

  recipients of Note proceeds did receive some funds. E.g. id. ¶¶ 355, 358, 365 (describing share of

  note proceeds distributed to intended recipients).

          Third, the Liquidators allege that SGG, the Note Issuers’ director, was an innocent insider



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  with “the power and authority to take actions to bring the fraudulent scheme to an end.” Id. ¶ 372.

  That precludes an in pari delicto defense. The complaint alleges that had Herman Oosten or anyone

  else at SGG known of the scheme, it “would have ended years earlier and hundreds of millions of

  dollars in losses could have been avoided.” Id. ¶ 369. Even for the Companies for which SGG was

  not a director, the allegations establish that SGG had the ability to exercise control and end the

  fraud thanks to the relationships among the Companies. Id. ¶ 371. In fact, the Liquidators allege

  not only that SGG could have stopped the fraud, but that its noisy withdrawal in July 2018 was

  what ultimately did stop it. Id.

          B.     In pari delicto does not apply to the Liquidators’ § 147 claim.

          Even if in pari delicto applied to the Liquidators’ other claims, the § 147 claim cannot be

  dismissed. Section 147 is, as the Cayman law Defendants rely on confirms, “a cause of action

  which belongs to the [liquidators]” and arises only once liquidation commences. Doc. 40-1 at 28

  (In re ICP Strategic Credit Income Fund, Ltd., 2014 (2) CILR 1)). Defendants’ declaration

  observes that § 147 is like § 146. Doc. 40-1 at 26-27. And § 146 claims, like those under § 147,

  arise only once litigation begins and vest in liquidators. Am. Pegasus SPC v. Clear Skies Holding

  Co., 1:13-CV-03035-ELR, 2015 WL 10891937, at *20 (N.D. Ga. Sept. 22, 2015) (citing In re

  Pers. & Bus. Ins. Agency, 334 F.3d 239, 246 (3d Cir. 2003)). Sections 146 and 147, therefore,

  “should be read” together and in pari delicto should apply to neither, as these sections each create

  statutory remedies “aimed at different aspects of the same kind of mischief.” Doc. 40-1 at 26.

          In pari delicto does not apply to claims brought under § 146, Pegasus, 2015 WL 10891937,

  at *20, nor does it apply to the Liquidators’ § 147 claim. The Cayman court applied this reasoning

  and construed these statutes together in In re ICP Strategic Credit, where it authorized liquidators

  to pursue their Cayman law § 147 claim in the United States courts along with their United States



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  common law claims. See Doc. 40-1 at 26. This Court should do the same, as the alternative

  “impute[s] the bad conduct of a debtor to a trustee who comes to the court with clean hands to

  pursue” innocent creditors’ claims. Pegasus, 2015 WL 10891937, at *20.

  III.    The Liquidators’ allegations of Defendants’ knowledge and assistance are sufficient
          to support their secondary liability claims.

          To state aiding and abetting breach of fiduciary duty and conversion claims, Florida law3

  requires the Liquidators to allege “an underlying violation on the part of the” Individual

  Wrongdoers, Defendants’ actual “knowledge of the underlying violation,” and Defendants’

  “rendering of substantial assistance” to the Individual Wrongdoers in their underlying violation.

  Perlman v. Wells Fargo Bank, N.A., 559 F. App’x 988, 993 (11th Cir. 2014). In seeking dismissal,

  Defendants ignore the specific facts alleged by the Liquidators showing Defendants’ actual

  knowledge of and substantial assistance in the Individual Wrongdoers’ scheme.

          A.     The Liquidators allege that the Defendants had actual—rather than merely
                 constructive—knowledge of the Individual Wrongdoers’ fraud.

          Defendants’ argument that the Liquidators have not pleaded actual knowledge ignores the

  complaint. The Liquidators’ allegations do not consist merely of what Defendants should have

  known. Instead, the complaint alleges (among other things) that Deutsche Bank actually

  investigated activity and identified the Individual Wrongdoers’ connection to it, threatened to

  restrain activity in response, and still left the accounts untouched, allowing the looting to continue.

          The Liquidators allege that the Individual Wrongdoers and their co-conspirators misused

  the Madison custody accounts to loot funds from the Companies. Deutsche Bank New York



  3
    Again, it is too early to determine which jurisdiction’s law governs the Liquidators’ non-statutory
  claims. Still, because the Liquidators have stated a claim to relief for aiding and abetting
  conversion and breach of fiduciary duty under at least one source of law—that is, Florida law—
  their claims must survive Defendants’ motion to dismiss.
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  employee Scott Habura’s deposition testimony confirms that Deutsche Bank knew that because

  custody accounts exist “for trading securities,” “‘there shouldn’t be’ overdrafts from custody

  accounts like Madison’s.” Doc. 31 ¶ 325 (quoting Habura). Yet by January 2016, Habura and

  “[his] team” had “again” uncovered a high volume of wires from custody accounts with

  “hundreds” of beneficiaries, wires Habura knew were “not related to … custody activity.” Id.

  ¶ 319. Habura even noted the connection between the Madison accounts and Biscayne and

  “insist[ed] that this activity” should be taking place in “a cash account outside of Deutsche Bank’s

  custody environment.” Id. Within a month, another Deutsche Bank employee observed that “[t]he

  activity” in the custody accounts “unrelated to trade settlement”—meaning, activity inconsistent

  with any custodial purpose—was “persistent” and that Deutsche Bank should not be processing it.

  Id. ¶ 320. In fact, not only were Defendants actually aware of the custody accounts’ misuse by

  February 2016, Habura observed that overdrafts were “now being looked at on a daily basis.” Id.

  ¶ 322. And no later than May 2016, that daily examination had turned into “a report” compiled by

  and circulated among Deutsche Bank employees “identifying unusual activity from the Madison

  sub-accounts not related to any securities or settlement function,” further disseminating actual

  knowledge within the organization. Id. ¶ 284. Still, Defendants continued to service the accounts.

          Put simply, the Liquidators do not allege merely that Deutsche Bank had a duty to

  investigate transactions nor do they rely only on what Deutsche Bank might have learned had it

  investigated. Instead, they allege (among other things) that Deutsche Bank actually investigated

  the wires out of the Madison sub-accounts, concluded that the activity was inconsistent with the

  accounts’ purpose and that Deutsche Bank should not permit it, and yet continued to wire money

  away from the accounts anyway. These allegations and the reasonable inferences from them are

  enough to allege that Defendants had actual knowledge of the underlying wrongdoing.



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          Perlman, cited by Defendants, confirms that these allegations suffice. In Perlman, the

  Eleventh Circuit held that, while the allegations in plaintiffs’ initial complaint were insufficient,

  those in the proposed amended complaint “demonstrate[ed] [the bank’s] actual knowledge.” 559

  F. App’x at 994. The amended complaint alleged, for example, that bank staff’s internal

  investigation raised alarms within the institution. Id. at 995. That investigation “confirmed

  questionable activity,” and the amended complaint alleged that Wells Fargo “routinely close[d]

  accounts within 30 days” in response to such findings. Id. In fact, the amended complaint alleged

  that even after an internal report on suspicious activity led a bank employee to conclude the bank

  would “restrain[] all involved accounts pending further investigation,” the accounts remained open

  for three more months. Id. Similarly, in Lesti v. Wells Fargo Bank, N.A., the Middle District of

  Florida found that a complaint related to a Ponzi scheme pleaded a bank’s actual knowledge, as

  required for an aiding and abetting claim, when the plaintiffs alleged that atypical transactions and

  the bank’s knowledge of self-dealing relationships among certain of its customers lead the bank to

  further investigate activity. 960 F. Supp. 2d 1311, 1325 (M.D. Fla. 2013).

          Additionally, allegations regarding Deutsche Bank’s internal policies are circumstantial

  evidence of Defendants’ actual knowledge, and “actual knowledge may be shown by

  circumstantial evidence.” Perlman, 559 F. App’x at 993; see also Chang v. JPMorgan Chase Bank,

  N.A., 845 F.3d 1087, 1097 (11th Cir. 2017) (“actual knowledge may be established through

  inference”). In Gevaerts v. TD Bank, N.A., this Court ruled that bank policies can be evidence of

  what the bank actually knew, not only what it should have known. 56 F. Supp. 3d 1335, 1341–42

  (S.D. Fla. 2014). Gevaerts involved allegations that a bank was obligated to report overdrafts of

  attorney trust accounts. That obligation supported inferences that the bank had systems “to detect

  such overdraws” and the systems thereby conferred “actual knowledge of the overdraws.” Id.



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          Defendants, likewise, claim to employ an anti-money laundering program that

  “scrutinize[s] clients and current transactions using meticulous procedures and an automated

  monitoring system.” Doc. 31 ¶ 38. Similarly, Defendants’ know-your-customer (“KYC”) program

  “includes strict identification requirements, name screening procedures and the ongoing

  monitoring and regular review of all existing business relationships.” Id. ¶ 41. Circumstantial

  evidence of Defendants’ actual knowledge is not evidence of constructive knowledge, and

  allegations about the systems Defendants used to detect suspect activity support an inference that

  those systems conferred actual knowledge of the activity.

          Deutsche Bank also knew that the Note Issuers were unable to repay note holders as interest

  and principal became due because Deutsche Bank facilitated the transactions enabling the Note

  Issuers to avoid those debt obligations. For example, the Individual Wrongdoers re-tapped notes

  hundreds of times, “issu[ing] new notes through Deutsche Bank to pay interest due on existing

  notes, in non-round number dollar amounts, just sufficient to make payments due on existing notes

  and days before principal and/or interest payments on those notes came due.” Id. ¶ 219. Deutsche

  Bank also facilitated swap transactions that allowed the Note Issuers to avoid cash payments on

  maturing notes. Id. ¶ 170; see also ¶¶ 174–78 (describing mechanics of swap transactions).

          In sum, the Individual Wrongdoers constantly repaid earlier investors by raising or

  borrowing additional money, instead of with revenue from real estate development, and Deutsche

  Bank knew that because Deutsche Bank participated in these transactions by raising or lending

  that additional money. Participation in this activity confirms knowledge of it because “having a

  general awareness of one’s role in wrongful conduct necessarily presupposes that one had any

  knowledge of the tortfeasor’s conduct in the first place.” Peterson v. Aaron’s, Inc., No. 1:14-CV-

  1919-TWT, 2017 WL 4390260, at *6 (N.D. Ga. Oct. 3, 2017).



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          Finally, the existence of some legitimate purpose for certain banking activity does not

  render Defendants necessarily unaware of wrongdoing. Facially legal, “otherwise legitimate

  conduct” can still support an inference of wrongdoing. Aetna Cas. & Sur. Co. v. Leahey Constr.

  Co., 219 F.3d 519, 536 (6th Cir. 2000). In Leahey, this meant that while “short-term lending may

  be ‘commonplace,’” characteristics of a loan—its “four-day duration straddling” a month’s end,

  creating the false impression the borrower was sufficiently capitalized—nonetheless supported an

  inference of underlying wrongdoing. Id. Of course, the legitimacy of certain banking activity under

  the circumstances alleged is a fact question the Court cannot resolve now. But just like Leahey’s

  facially legitimate short-term loan, Defendants’ coaching on titling and using sub-accounts to

  avoid additional scrutiny is evidence of Defendants’ knowledge of underlying wrongdoing, even

  where the practices may have some legitimate application in other contexts.

          B.     Through both action and inaction, Defendants substantially assisted in the
                 wrongdoing.

          A bank’s inaction “when confronted with clear evidence” of mishandled funds “can

  constitute substantial assistance” for the purposes of an aiding and abetting claim. Chang, 845 F.3d

  at 1098. As the Eleventh Circuit held in Perlman, allegations that a bank “permitted the fraud to

  continue through use of its accounts after it had actual knowledge of the scheme” suffice to allege

  substantial assistance. 559 F. App’x at 996. As shown above, the Liquidators allege actual

  knowledge of the underlying fraud, and therefore need only allege Defendants’ inaction to plead

  their substantial assistance. Still, the Liquidators allege more than inaction.

          The complaint alleges Defendants affirmatively assisted the Individual Wrongdoers by

  departing from the Bank’s own procedures in out-of-the-ordinary ways. The complaint alleges, for

  example, that Deutsche Bank employee Floris Vreedenburgh flew to Buenos Aires to meet with

  Gustavo Trujillo and Fernando Haberer—two of the Individual Wrongdoers’ co-conspirators—

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  and coached them on how to “‘properly title’ sub-accounts to avoid Defendants’ on-boarding and

  [KYC] rules.” Doc. 31 ¶¶ 110–11 (quoting Vreedenburgh testimony). As Vreedenburgh explained,

  by avoiding on-boarding, the Individual Wrongdoers avoided “further scrutiny … of the whole

  organization, the articles, the memorandums [sic], the owners, everything,” designed to detect

  illegal activity. Id. ¶ 113. Those directions on avoiding internal controls were not publicly

  “available in any kind of brochure or anything for customers.” Id. ¶ 297. Instead, Defendants’

  personal coaching of the bad actors ensured they knew how to do this. Id. ¶¶ 299–301.

          Moreover, these instructions were not the only substantial assistance Deutsche Bank

  rendered to the Individual Wrongdoers, or even the only substantial assistance related to opening

  the sub-accounts. Deutsche Bank also opened all “29 custody sub-accounts without requiring a

  single anti-money laundering affidavit,” something the Bank ordinarily required. Id. ¶ 306.

  “Instead, Deutsche Bank accepted a letter—written for the purpose of opening the prime Madison

  account—certifying that the funds were of a licit nature and from Madison’s commercial

  activities.” Id. ¶ 307. The letter, Vreedenburgh testified, was “clearly not sufficient to ensure

  proper anti-money laundering compliance,” and by accepting it, Deutsche Bank disregarded its

  own procedures. Id. ¶ 308.

          Deutsche Bank’s aid also included instructions on how to use—not merely open—the

  subaccounts. For example, when the wires out of the Madison sub-accounts attracted the Bank’s

  attention, Scott Habura counseled Gustavo Trujillo to involve a different bank or use “financial

  counterparties,” id. ¶ 330, “rout[ing] the suspicious transactions through a cash account at another

  bank to avoid continued scrutiny,” id. ¶ 333. Deutsche Bank even lobbied others on the fraudsters’

  behalf, meeting with a concerned investor to offer “reassurance concerning the relationship

  between the Companies, Madison, and Deutsche Bank,” id. ¶ 331, and “provid[ing] a reference



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  letter … to assist Madison in opening accounts at another” bank, id. ¶ 334.

          None of this conduct—the advice, the departures from Deutsche Bank’s normal

  procedures, and Deutsche Bank’s willingness to intercede on the Individual Wrongdoers’ behalf—

  is merely administrative or ministerial support. Instead, it necessarily amounts to non-routine

  banking services. Judge Rosenberg reached the same conclusion in Gevaerts, finding that

  allegations a defendant bank departed from its standard practices despite its alleged actual

  knowledge of wrongdoing did not plead “normal banking activity.” 56 F. Supp. 3d at 1342–43.

  Instead, those allegations, like these, sufficed to plead the bank’s substantial assistance. Id.

          Nor does it matter, at the pleading stage, that the use of sub-accounts is not necessarily

  illegal nor always intended to evade KYC procedures. The Liquidators allege that the specific

  direction and assistance Deutsche Bank provided amounted to substantial assistance in

  wrongdoing. After all, as the complaint alleges, these internal controls exist in part to prevent

  fraud, Doc. 31 ¶ 37, and avoiding these controls had predictable consequences for the Companies.

  In this way, evasion of the regulations is like the loan extensions the Sixth Circuit considered in

  Leahey. While loan extensions may not always be substantial assistance, where the bank’s lending

  practices departed from its typical practices so much that the practices were “anything but routine,”

  the record supported a claim of substantial assistance. 219 F.3d at 537.

          Finally, the Court should reject any suggestion that the allegations regarding Deutsche

  Bank Trust Companies are insufficient to plead claims against it. The Liquidators specifically

  allege Trust Companies’ substantial assistance. For example, the Liquidators allege that—after

  Deutsche Bank Suisse closed three accounts associated with the Individual Wrongdoers and

  provided notice to Deutsche Bank Trust Companies that it “planned to end [its] relationship with

  Biscayne”—Trust Companies assumed responsibility for those accounts. Id. ¶ 339. Deutsche Bank



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  Trust Companies opened those accounts under suspect circumstances, where communications

  were sent via separate email accounts “seemingly to conceal their true nature,” id. ¶ 343, and kept

  them open even after receiving direction to terminate at least one problematic Biscayne-related

  account, id. ¶ 346. Moreover, Deutsche Bank Trust Companies employee Reynaldo Figueredo was

  “involved in countless trades and transactions involving the Companies and Biscayne” and

  corresponded with other of Defendants’ employees regarding millions in overdrafts and “failed

  trades.” Id. ¶ 53. Not only does this active participation amount to substantial assistance, but the

  substantial assistance—again—demonstrates Deutsche Bank Trust Companies’ knowledge.

  Indeed, “[i]f one is aware that he has a role in an improper activity then surely he knows that the

  primary party’s conduct is tortious.” Leahey, 219 F.3d at 534 (internal citations omitted).

          C.     The same allegations more than suffice for the Cayman Islands Company
                 Law § 147 claim, which imposes a lower knowledge threshold.

          As an initial matter, this Court should apply Cayman law and hear the § 147 claim for

  fraudulent trading. Defendants argue that the Court should apply Florida or New York law, rather

  than Cayman Islands law, because—they protest—Cayman courts have not announced the

  appropriate standard for assessing whether plaintiffs have alleged § 147 claims. Doc. 40 at 21–22.

  Deutsche Bank has argued that only two aspects of the claim are unsettled: “whether Plaintiffs

  have adequately alleged Deutsche Bank’s knowledge of the” underlying fraud “or the type of

  conduct that constitutes ‘carrying on the business of’” the fraud. Id. at 21–22 (quoting § 147(2)).

          Although this statutory language supplies more than adequate guidance, Defendants’

  declaration removes any credible doubt regarding the applicable standard. The declaration makes

  clear that knowledge for purposes of a § 147 claim “includes ‘willful blindness’ and ‘turning a

  blind eye’” and agrees that “establish[ing] actual knowledge” is “not necessary.” Doc. 40-1 at 9.

  As shown in Part III.A, the Liquidators have alleged that Defendants had actual knowledge of the

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  underlying wrongdoing, clearly surpassing the lower willful blindness standard imposed by § 147.

          Similarly, Defendants’ declaration acknowledges that “carrying on” the business of fraud

  is likely “not limited to the person who actually directs or manages the business concerned” and

  includes “third parties to the company.” Doc. 40-1 at 8 (quoting Re BCCI, Banque Arabe v. Morris

  [2001] 1 BCLC 263, at 269 para. E). Rather, according to Defendants’ expert, a Cayman court

  would interpret the term to include one who is “involved in and assists and benefits from” the

  fraud. Id. at 9 (quoting Re BCCI, Banque Arabe, 1 BCLC at 273 para.E). Though Defendants

  suggest “mere omissions and bona fide business transactions” may not be enough, id. at 7, Part

  III.B shows that the Liquidators allege more than inaction and ordinary banking services.

  Therefore, while the Court should not resolve choice of law questions now, the pleadings provide

  more than ample basis for finding the Liquidators have adequately pleaded their § 147 claim.

          Even still, were the Court to conclude Cayman law is insufficiently settled on these two

  points, that poses no bar to applying Cayman law to the § 147 claim’s remaining features. Under

  Florida law, if “the law of a foreign forum is claimed to be dispositional, but is not p[roved] to the

  trial court,” “a presumption arises that the foreign law is the same as” Florida’s. Mills v. Barker,

  664 So. 2d 1054, 1058 (Fla. Dist. Ct. App. 1995). Thus, if Cayman law were not proven, the Court

  could presume that the § 147 claim follows Florida law, but as to only those two (purportedly)

  unsettled elements. In that case, again, the Liquidators have pleaded both Defendants’ actual

  knowledge and their substantial participation in the fraud, and Cayman law would continue to

  govern other aspects of the § 147 claim because Defendants do not contend that Cayman law is

  otherwise unsettled or different from Florida law.

  IV.     Because Defendants’ knowledge and relationships gave rise to various extra-
          contractual duties, both the breach of fiduciary duty and negligence claims survive.

          Defendants contest only the duty element of the breach of fiduciary duty and negligence

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  claims, but the complaint alleges both duties under at least one body of law.

          A.     Though the Agency Agreement created Deutsche Bank’s fiduciary duties, the
                 independent tort doctrine does not bar the Liquidators’ tort claims.

          The independent tort doctrine bars tort actions only “when the parties [are] in contractual

  privity and one party [seeks] to recover purely economic damages in tort for matters arising from

  contract.” Spears v. SHK Consulting & Dev., Inc., 338 F. Supp. 3d 1272, 1279 (M.D. Fla. 2018)

  (citing Tiara Condo. Ass’n, Inc. v. Marsh & McLennan Cos., 110 So. 3d 399, 401–02 (Fla. 2013)).

  That doctrine does not bar the Liquidators’ tort claims because those claims include allegations

  separate and distinct from the contract claims.

          To be sure, the Liquidators allege the breach of fiduciary duty claims on behalf of four

  Note Issuers—Diversified Real Estate, Global Market Step Up, Preferred Income, and SG

  Strategic—each of whom executed an Agency Agreement with Deutsche Bank. E.g., Doc. 31

  ¶¶ 139, 143, 184. Those Agency Agreements “designated the bank as these entities’ agent, granted

  the bank broad authority to act on their behalf, and did not circumscribe or effectively limit that

  agency relationship.” Id. ¶ 389; see also Doc. 40-2 at 38. Under Florida law, “[a]gency is [a]

  fiduciary relationship,” F.D.I.C. v. Floridian Title Group. Inc., 972 F. Supp. 2d 1289, 1296–97

  (S.D. Fla. 2013), and Deutsche Bank, therefore, owed a fiduciary duty to these Note Issuers.

          But while the Agency Agreements created the fiduciary duty, the conduct supporting the

  Liquidators’ tort claims is not the same conduct that breached the contract. For example, the

  Liquidators allege that Deutsche Bank breached its duties by encouraging the Individual

  Wrongdoers and their co-conspirators to evade anti-money laundering and KYC policies and

  coaching them on precisely how to do so. Doc. 31 ¶¶ 391, 411. The Agreements do not mention

  or otherwise prohibit Deutsche Bank from engaging in this conduct, but the fiduciary relationship

  the Agreements create does. Similarly, while an engagement letter may not prohibit a lawyer from

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  misappropriating client funds, the relationship created by the letter clearly does.

          Courts have routinely found that where the alleged contract does not make any reference

  to the scenario giving rise to the tort claims, the tort claims rely on a non-contractual duty and the

  independent tort doctrine, therefore, does not bar them. E.g., Glob. Quest, LLC v. Horizon Yachts,

  Inc., 849 F.3d 1022, 2031 (11th Cir. 2017); CEMEX Constr. Materials Fla., LLC v. Armstrong

  World Indus., Inc., 3:16-CV-186-J-34JRK, 2018 WL 905752, at *11 (M.D. Fla. Feb. 15 2018).

  The presence of an agreement between the Note Issuers and Defendants “does not mean any claim

  incident to their relationship is necessarily intertwined with a breach of contract claim.” Carl’s

  Furniture, Inc. v. APJL Consulting, LLC, 15-60023-CIV, 2015 WL 1467726, at *4 (S.D. Fla. Mar.

  30, 2015). Because the duties owed under tort law stretch beyond those imposed by any contract,

  allegations Defendants breached those tort duties are distinct from the Liquidators’ contract claims

  and therefore not barred by the independent tort doctrine.

          Finally, the Liquidators asserted a breach of contract claim against only Deutsche Bank

  and not against Deutsche Bank Trust Companies. Doc. 31 ¶¶ 400–08. Florida’s independent tort

  doctrine “requires contractual privity between the parties.” Spears, 338 F. Supp. at 1270.

  Therefore, even if the independent tort doctrine precluded the Liquidators’ tort claims against

  Deutsche Bank, any tort claims against Deutsche Bank Trust Companies would remain.

          B.     Defendants owed a duty of care to even the non-customer Companies.

          “Banks owe a duty to customers.” Wiand v. Wells Fargo Bank, N.A., 938 F. Supp. 2d 1238,

  1247 (M.D. Fla. 2013). So Defendants owed a duty of care to their customers Diversified Real

  Estate, Global Market Step Up, Preferred Income, and SG Strategic. But Defendants also owed a

  duty of care to the non-customer Companies because of Deutsche Bank’s relationship with

  Madison and its treatment of the Madison sub-accounts.



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          Under Florida law, a bank owes non-customers a duty of care under certain conditions.

  Specifically, “a bank may be liable to a noncustomer for its customer’s misappropriation when a

  fiduciary relationship exists between the customer and the noncustomer, the bank knows or ought

  to know of the fiduciary relationship, and the bank has actual knowledge of its customer’s

  misappropriation.” Chang, 845 F.3d at 1094–95. The complaint pleads each of those conditions.

          First, the nature of the Madison custody accounts establishes that Deutsche Bank knew

  Madison acted (or purported to act) as the Companies’ fiduciary. In Freeman v. JPMorgan Chase

  Bank N.A., the Eleventh Circuit reversed a trial court’s grant of summary judgment and held that

  similar evidence about a bank customer’s escrow account—opened by the customer to hold funds

  for its clients—created a jury question on the first two requirements. 675 F. App’x 926, 932 (11th

  Cir. 2017). In other words, evidence that the customer opened an escrow account to hold funds for

  its clients could show both the existence of and Chase Bank’s knowledge of a fiduciary relationship

  between its customer—the account holder—and the non-customer plaintiffs. Id. The Liquidators’

  allegations regarding the custody accounts’ function and purpose similarly plead Defendants’

  knowledge that Madison owed the Companies a fiduciary duty. E.g., Doc. 31 ¶¶ 278–80.

          Second, the complaint also alleges Deutsche Bank’s knowledge of its customers’

  misappropriation. As shown in Part III.A., Defendants knew of the high volume of wires with

  “hundreds” of beneficiaries flowing from the sub-accounts, wires Defendants also knew could “not

  [be] related to … custody activity.” Id. ¶ 319. In other words, Deutsche Bank knew Madison was

  “persistent[ly]” treating the custody accounts like cash accounts. Id. ¶ 320. Deutsche Bank also

  knew that its own procedures prohibited using custody accounts this way and that it therefore

  should not be processing these transactions. Id. Construed in the Liquidators’ favor, these

  allegations support an inference that Deutsche Bank actually knew the transactions amounted to



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  misappropriation. The Liquidators have, therefore, alleged facts sufficient to show that Defendants

  owed a duty of reasonable care, even to the non-customer Companies.

          In short, the Liquidators do not allege “some general and all-encompassing duty” on the

  part of banks to monitor and investigate customer activity. Doc. 40 at 30. Instead, the Liquidators

  allege that Defendants breached a duty of care that arose because of what Deutsche Bank learned

  when it did investigate, on its own accord.

          Lastly, Defendants claim Insight Securities, Inc. v. Deutsche Bank Trust Cos. America, No.

  20-23864-CIV, 2021 WL 3473763 (S.D. Fla. Aug. 6, 2021), supports their contention they owed

  no duty of care to the Companies. See Doc. 40 at 30 (citing Insight). The Insight court’s conclusion

  that those plaintiffs could not recover for the losses suffered by their customers because the bank

  owed them no duty of care is—however—irrelevant to the Liquidators’ claims. Unlike the Insight

  plaintiffs, the Liquidators do not seek to recover for losses suffered by the Companies’ clients or

  creditors. Instead, the Liquidators stand in the shoes of the Companies themselves pursuant to 11

  U.S.C. § 101(24) and bring their claims to recover for losses the Companies suffered when, among

  other things, Deutsche Bank facilitated the looting of the Companies via the Madison sub-

  accounts. Whether Defendants owe any duty to the Companies’ clients or creditors is irrelevant;

  the complaint alleges that they owed a duty to the Companies.

  V.      The Complaint states a breach of contract claim.

          A.     Defendants clearly understand which contractual provisions are relevant to
                 the Liquidators’ contract claims.

          Defendants ignore several allegations when arguing that the Liquidators’ contract claims

  fail because the complaint did not connect those claims “to any particular contractual provision.”

  Doc. 40 at 26. “[A] complaint must at least provide enough information regarding the disputed

  terms to give the opposing party reasonable notice of which provisions are being contested.” Boca


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  Raton Sailing v. Scottsdale Ins. Co., No. 18-CV-81236, 2019 WL 7904805, at *2 (S.D. Fla. Mar.

  18, 2019). But contractual “[p]rovisions need not be identified with a section or page number.” Id.

          The amended complaint identifies three Agency Agreement provisions supporting the

  contract claims with more than the specificity the law requires. Paragraph 403 alleges that

  “[a]ccording to the Agency Agreements, Deutsche Bank was not to carry out an instruction in

  circumstances where the bank had reasonable grounds to believe that the instruction was part of a

  scheme to defraud these Note Issuers.” Paragraph 407 alleges that “pursuant to the Agency

  Agreements Deutsche Bank was authorized to accept payments of the notes only in currency.”

  Paragraph 405 alleges that “the Agency Agreements required Deutsche Bank to notify the director

  of a Note Issuer if any payment was late.” Defendants’ own motion confirms that Defendants had

  notice of and understood the basis for the Liquidators’ contract claims, as Defendants’ arguments

  address each of these allegations specifically. Doc. 40 at 26–28.

          B.     Deutsche Bank’s acceptance of in-kind payments violated the Agency
                 Agreements.

          Defendants argue that using in-kind payments to satisfy note obligations cannot amount to

  breach because “[t]he Agreements did not explicitly prohibit payment in kind, and at least one of

  the Agreements explicitly permitted such payments.” Id. at 28. But the Liquidators allege more

  than just that certain Agency Agreements “did not contemplate payment in kind.” Doc. 31 ¶ 190.

  The complaint also alleges that in-kind payments were prohibited because the Agreements

  “specified that payment ‘shall be’ made ‘unconditionally by credit transfer in the payment currency

  and … freely transferable cleared funds.’” Id. When a contract’s terms are “clear and

  unambiguous,” the Court must interpret and enforce terms “according to [their] plain meaning.”

  Limehouse v. Smith, 797 So. 2d 15, 17 (Fla. Dist. Ct. App. 2001). Giving these clear and

  unambiguous terms their plain meaning, “payment currency” and “freely transferable cleared

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  funds” cannot mean in-kind payments, particularly at the motion to dismiss stage where all

  reasonable inferences must be drawn in the Liquidators’ favor. Thus, Deutsche Bank’s acceptance

  of in-kind payments plausibly violated the Agency Agreements.

          C.     Because Deutsche Bank had reasonable grounds to believe that certain
                 instructions were part of a scheme to defraud, following those instructions
                 violated the Agency Agreements.

          Defendants argue that facilitating the swap transactions and re-taps and accepting late

  payments cannot amount to breach because there was no specific contractual prohibition of such

  activity, but their argument misunderstands the Liquidators’ contract claims. The Liquidators have

  not alleged that accepting late payments or facilitating these repayment-avoiding transactions

  would—in isolation—amount to breach. Instead, the Liquidators allege that in accepting the late

  payments and facilitating the re-taps and swap transactions, Deutsche Bank “carr[ied] out []

  instruction[s] in circumstances where the bank had reasonable grounds to believe that the

  instruction was part of a scheme to defraud the[] Note Issuers.” Doc. 31 ¶ 403.

          As Defendants acknowledge, “the Agency Agreements are subject to an English Choice of

  Law clause.” Doc. 40 at 26 n.15.4 And as the authority Defendants submit observes, under English

  law there is an “implied contractual and/or tortious duty owed by a banker to its customer” to

  “refrain from executing an order if and for as long as the banker … has reasonable grounds … for

  believing that the order is an attempt to misappropriate the funds of the company.” Doc. 40-1 at

  295 (quoting from Stanford Int’l Bank Ltd. v. HSBC Bank plc [2021] EWCA Civ 535, para. 3).

  Thus, under at least one jurisdiction’s law, Deutsche Bank breached the contract by accepting late



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    Given that English law governs the Agency Agreements, Defendants do not explain why Florida
  law would apply to the exculpatory clause. See Doc. 40 at 31 n.16. But even if it did—and even if
  Defendants developed the point beyond the footnote in which it appears, see Mock, 373 F. App’x
  at 992—Florida law would not permit Defendants to exculpate themselves from liability for
  intentional torts. Loewe v. Seagate Homes, Inc., 987 So. 2d 758, 760 (Fla. Dist. Ct. App. 2008).
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  payments and facilitating the re-tap and swap transactions if—as the Liquidators allege—Deutsche

  Bank had reasonable grounds to believe that these instructions were part of a scheme to defraud

  the Note Issuers. This is all that is necessary to state the Liquidators’ breach of contract claim.

          Similarly, the Court should reject Defendants’ argument that Deutsche Bank was not

  required to provide notice of late payment to the Note Issuers—rather than to Trujillo—if Deutsche

  Bank “[wa]s satisfied that it w[ould] receive” the payments. Doc. 40 at 27–28. Express contractual

  language provided that in the event of late payment, Deutsche Bank was to “notify by electronic

  mail or fax each of the other Agents and the Issuer if it has not received the amount … by the time

  specified for its receipt, unless it is satisfied that it will receive such amount.” Doc. 31 ¶ 258

  (quoting § 4.3 of Agency Agreements). And the Liquidators allege that Deutsche Bank violated

  the Agreements by providing notice to Trujillo rather than to the Note Issuers. The Liquidators do

  not allege that Deutsche Bank expected to eventually receive the late payments—that is merely

  Defendants’ after-the-fact assertion. And it is plausible that Deutsche Bank would not have

  expected to receive the late payments because, again, the Liquidators have plausibly alleged that

  Deutsche Bank was knowingly assisting the Individual Wrongdoers in carrying out a scheme to

  defraud the Note Issuers. Whether Deutsche Bank was satisfied it would ultimately receive

  payments is a fact question for discovery.

  VI.     The Liquidators’ allegations support the Florida statutory claims.

          A.     Because at least some elements of the offenses occurred in Florida,
                 extraterritoriality does not bar the Liquidators’ claims.

          The Eleventh Circuit has held that a plaintiff alleging a claim under Florida’s Civil

  Remedies for Criminal Practices Act (CRCPA) need plead only “a connection between Florida

  and the alleged wrongful conduct” to escape any extraterritoriality bar. Arthur v. JP Morgan Chase

  Bank N.A., 569 F. App’x 669, 681 (11th Cir. 2014). The CRCPA claim alleges that Defendants


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  committed and conspired with others to commit related violations of theft, Fla. Stat. § 812.014;

  bank fraud, 18 U.S.C. § 1344; money laundering, 18 U.S.C. § 1956; bribery and violations of the

  Foreign Corrupt Practices Act, 15 U.S.C. § 78dd-2. Taking the theft predicates as an example, the

  Liquidators plead the requisite connection to Florida three ways.

          First, for predicates arising under Florida law, like the theft predicate, the CRCPA “run[s]

  co-extensively with the reach of the Florida criminal statutes,” Arthur, 569 F. App’x at 682, and

  therefore encompasses offenses “committed … partly within the state.” Fla. Stat. § 910.005(1)(a),

  (2). An offense is committed “partly within” Florida “if either the conduct that is an element of the

  offense or the result that is an element[] occurs in Florida.” Id. Because the Liquidators have

  pleaded that at least some conduct or result that is an element of theft happened at least partly in

  Florida, they have alleged claims not subject to any extraterritoriality bar.

           A person commits the relevant Florida predicate, theft, if:

          [H]e or she knowingly obtains or uses, or endeavors to obtain or to use, the property
          of another with intent to, either temporarily or permanently:
          (a) Deprive the other person of a right to the property or a benefit from the property.
          (b) Appropriate the property to his or her own use or to the use of any person not
              entitled to the use of the property.

  Id. § 812.014(1). The complaint alleges (and the example offering memorandum Deutsche Bank

  attached to its motion confirms) that the note proceeds were intended to be used to develop real

  property in South Florida. E.g., Doc. 31 ¶¶ 9–12; Doc. 40-2 at 3–30. Meanwhile, the “partly

  within” standard stretches broadly enough to permit, for example, application of Florida’s murder

  statute where the state conceded that the victim died and the fatal blows were struck in Alabama,

  because the assailant—at a minimum—premeditated the murder in Florida. Lane v. State, 388 So.

  2d 1022, 1028 (Fla. 1980). Here too, conduct occurred partly in Florida because, at a minimum,

  “a result that is an element”—deprivation or loss of use of property—occurred within Florida,



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  where the real property to be developed was located. See Fla. Stat. Ann. § 910.005(1)(a), (2).

          Second, Florida’s criminal jurisdiction also extends to any “conspiracy to commit an

  offense” in Florida if “an act in furtherance of the conspiracy occurs” there. Id. § 910.005(1)(c).

  Numerous overt acts in furtherance of the alleged CRCPA conspiracy occurred in Florida: (1)

  Deutsche Bank employees met with the Individual Wrongdoers in Florida as part of the conspiracy,

  Doc. 31. ¶¶ 48, 52, 342; (2) Deutsche Bank Trust Companies employees “based in Miami”

  provided services in furtherance of the conspiracy, id. ¶¶ 50, 52; (3) Defendants’ employees

  regularly communicated with Biscayne and the Individual Wrongdoers in Florida, id. ¶¶ 50, 52,

  342; and (4) the investment adviser initially used to carry out the conspiracy was headquartered in

  Miami, id. ¶ 59. And in his proffer in support of his guilty plea, Frank Chatburn “repeatedly

  document[ed]” the scheme’s connections to Florida. Id. ¶ 438; Doc. 31-1 (proffer).

          Third, Florida exercises criminal jurisdiction over “conduct within the state” that

  “constitutes an attempt or conspiracy to commit in another jurisdiction an offense under the laws

  of both [Florida] and the other jurisdiction.” Fla. Stat. § 910.005(1)(d). Thus, there is no

  extraterritoriality bar if any of the Florida conduct alleged is part of an attempt or conspiracy to

  commit theft in any of the jurisdictions where the innocent investors are located, so long as those

  jurisdictions also criminalizes theft. Id. And the complaint alleges that at least five jurisdictions

  where the Latin American investors are located does criminalize this kind of theft. Doc. 31 ¶ 455

  (collecting statutes from Ecuador, Venezuela, Argentina, Uruguay, and Brazil).

          None of the cases Defendants cite compels dismissal of the Florida statutory claims. In re

  Las Vegas Casino Lines, LLC, for example, holds only that federal maritime law preempts

  Florida’s civil theft statute for acts of theft solely within “the special maritime and territorial

  jurisdiction of the United States.” 454 B.R. 223, 228–29 (Bankr. M.D. Fla. 2011). Absolute Activist



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  Value Master Fund Ltd. v. Devine, meanwhile, followed the United States Supreme Court’s RJR

  Nabisco decision to find that Florida’s CRCPA did not apply extraterritorially. 233 F. Supp. 3d

  1297, 1327–28 (M.D. Fla. 2017) (citing RJR Nabisco, Inc. v. European Cmty., 579 U.S. 325

  (2016)). But neither RJR Nabisco’s ruling nor its reasoning applies to CRCPA claims.

          The CRCPA’s text confirms that criminal activity occurring only partly within Florida can

  give rise to civil liability under the statute. First, nowhere does the CRCPA impose a requirement

  that there be a domestic injury. Naturally, had the Florida Legislature desired or intended that

  result, it could have made it a prerequisite for the CRCPA’s private cause of action. Second, the

  CRCPA does state that “criminal activity” that can support CRCPA liability includes “[a]ny crime

  that is chargeable by indictment” under the enumerated predicates. Fla. Stat. Ann. § 772.102(1)(a).

  The federal RICO statute defines “racketeering activity” without similar language. 18 U.S.C.

  § 1961(1). Thus, unlike federal RICO, where the Supreme Court has held that the civil remedy is

  not coextensive with the reach of criminal predicates that may apply extraterritorially, Florida has

  enacted a civil remedy with the same reach and application as its criminal law. Indeed, the

  enumerated predicates include crimes that—like theft, § 772.102(1)(a)(20)—are chargeable under

  Florida law even where the violation occurred only “partly within [Florida].” Id. § 910.005(1)(a),

  (2). Thus, the CRCPA’s plain text creates a civil cause of action for criminal activity occuring only

  partly within Florida. Third, the CRCPA is an entirely separate statute from Florida’s criminal

  RICO statute, and includes fewer predicates than does Florida’s criminal RICO statute. Compare

  Fla. Stat. Ann. § 772.101 et seq., with Fla. Stat. Ann. § 895.01 et seq. There is no reason decisions

  interpreting the federal RICO statute would be persuasive authority for the Florida RICO statute

  where there is no indication that the presumption against extraterritoriality applicable to federal

  statutes would apply to the CRCPA, much less overcome its plain text.



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          Finally, In re Mouttet, 493 B.R. 640 (Bankr. S.D. Fla. 2013), held that extraterritorial

  application of Florida’s CRCPA turns on whether a complaint “allege[s] a significant relationship

  between Florida” and “any of the harm allegedly suffered” by a plaintiff. Id. at 657. For the reasons

  set forth above, the complaint clearly meets that standard.

          B.     The Liquidators allege facts—not just legal conclusions—in support of their
                 Florida statutory claims.

          Defendants’ suggestion that the Liquidators’ CRCPA and Civil Remedies for Theft or

  Exploitation (CRTE) claims consist of “merely … boilerplate text tracking the elements of each

  cause of action,” Doc. 40 at 33, hardly warrants a serious response, for two reasons. First, the

  argument ignores the facts alleged in the complaint’s body and incorporated selectively into those

  counts. Doc. 31 ¶¶ 414 (incorporating “the allegations of Paragraphs 4–7, 49–60, 77, 98–135, and

  149–372” into the CRCPA claim), 452 (incorporating the same paragraphs’ allegations into the

  CRTE claim). Second, the suggestion is untrue. The allegations go beyond “bare legal

  conclusions” reciting the claims’ elements. Doc. 41 at 33 (quotations omitted). The Liquidators

  allege, for example, that Defendants “assisted the Individual Wrongdoers and Madison in

  improperly and illegally transferring the Note Issuers’ and Companies’ assets into the Madison

  sub-accounts,” Doc. 31 ¶ 426, and that the “[f]unds looted from the Companies’ accounts were”

  used, among other things, “to purchase real and personal property” in Florida. Id. ¶¶ 446, 456.

                                           CONCLUSION

          The Liquidators have stated a plausible claim to relief as to each count pleaded. Defendants

  argue otherwise only by ignoring allegations, recharacterizing them, or by relying on incorrect or

  incomplete statements of the law. The Court should therefore deny Defendants’ motion to dismiss.




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          This 19th day of November, 2021.


                                                /s/ John H. Rains IV
                                                Frank M. Lowrey IV (pro hac vice)
                                                Georgia Bar No. 410310
                                                lowrey@bmelaw.com
                                                Ronan P. Doherty (pro hac vice)
                                                Georgia Bar No. 224885
                                                doherty@bmelaw.com
                                                John H. Rains IV
                                                Florida Bar No. 0056859
                                                Georgia Bar No. 556052
                                                rains@bmelaw.com
                                                Amanda Kay Seals (pro hac vice)
                                                Georgia Bar No. 502720
                                                seals@bmelaw.com
                                                Michael B. Jones (pro hac vice)
                                                Georgia Bar No. 721264
                                                jones@bmelaw.com
                                                Juliana Mesa (pro hac vice)
                                                Georgia Bar No. 585087
                                                mesa@bmelaw.com
                                                BONDURANT MIXSON & ELMORE LLP
                                                1201 West Peachtree Street, N.W.
                                                Suite 3900
                                                Atlanta, Georgia 30309
                                                Telephone: (404) 881-4100
                                                Facsimile: (404) 881-4111


                                                Eduardo F. Rodriguez
                                                Florida Bar No. 36423
                                                eddie@efrlawfirm.com
                                                EFRLAWFIRM
                                                1 Alhambra Plaza, Suite 1225
                                                Coral Gables, FL 33134
                                                Telephone: (305) 340-0034

                                                Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

          I hereby certify that I have caused to be served the foregoing PLAINTIFFS’ RESPONSE

  TO DEFENDANTS’ MOTION TO DISMISS THE FIRST AMENDED COMPLAINT by

  filing it with the Clerk of Court using the CM/ECF system upon the following counsel of record:

                Harvey W. Gurland
                hwgurland@duanemorris.com
                DUANE MORRIS LLP
                201 S. Biscayne Boulevard, Suite 3400
                Miami, Florida 33131-4325

                David G. Januszewski
                djanuszewski@cahill.com
                Sesi V. Garimella
                sgarimella@cahill.com
                Bonnie E. Trunley
                btrunley@cahill.com
                CAHILL GORDON & REINDEL LLP
                32 Old Slip
                New York, NY 10005

          This 19th day of November, 2021.

                                                     /s/ John H. Rains IV
                                                     John H. Rains IV




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